                               NO. 07-10-0041-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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FEBRUARY 25, 2011
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                           ALLTECH, INC., APPELLANT
                                       
                                      v.
                                       
           JEFF WILKERSON AND NOVUS INTERNATIONAL, INC., APPELLEES 
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                FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;
                                       
                 NO. 95,826-B; HONORABLE JOHN B. BOARD, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              ON MOTIONTO DISMISS
                                       
Appellant, Alltech, Inc., has filed a motion to dismiss its appeal.  See Tex. R. App. P. 42.1(a)(1).  No decision of this Court having been delivered to date, we grant the motion.  Accordingly, we dismiss the appeal.  Id.  All costs related to this appeal are assessed against appellant.  See Tex. R. App. P. 42.1(d).  If dismissal will prevent appellees from seeking relief to which they would otherwise be entitled, the Court directs appellees to file a timely motion for rehearing.  No motion for rehearing from appellant will be entertained.
								Mackey K. Hancock
									Justice
